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                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF MISSOURI
                                        EASTERN DIVISION


         UNITED STATES OF AMERICA,                  )
                                                    )
                                Plaintiff.          )
                                                    )
                         v.                         )     No. 4:90CR30(JCH)
                                                    )
         FRANCISCO SANTANA,                         )
                                                    )
                                Defendant.          )

                                                  ORDER

                This matter is before the Court upon defendant’s motion to

         modify his sentence pursuant to 18 U.S.C. § 3582(c)(2) [Doc.

         #69].

                                              The motion

                Citing United States v. Booker, 125 S. Ct. 738 (2005),

         defendant argues that the United States Sentencing Guidelines

         (“Guidelines”) have been “lowered by the Sentencing Commission”

         such that 18 U.S.C. § 3582(c)(2) allows this Court to modify his

         sentence.

                                              Discussion

                In Booker, the Supreme Court held that 18 U.S.C. §

         3553(b)(1) - by which federal courts are required to apply the

         Guidelines - is incompatible with an offender’s sixth amendment

         rights and must be severed and excised from the Sentencing Reform

         Act of 1984.         United States v. Booker, 125 S. Ct. at 756.

         Consequently, the Guidelines are now advisory.                  Id. at 757.     This




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         Court rejects defendant’s argument that the switch from the

         mandatory application of the Guidelines to the advisory nature of

         the Guidelines constitutes a “lowering” of the Guidelines as used

         in § 3582(c)(2).        Even if the change from mandatory to advisory

         constitutes a “lowering” of the Guidelines, such action was not

         taken - as § 3582 requires - by the Sentencing Commission.

                Accordingly,

                IT IS HEREBY ORDERED that defendant Santana’s motion to

         modify his sentence pursuant to 18 U.S.C. § 3582(c)(2) [Doc. #69]

         is DENIED.

                Dated this 13th       day of June , 2005.



                                                    /s/Jean C. Hamilton
                                                    UNITED STATES DISTRICT JUDGE




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